
720 S.E.2d 676 (2012)
LEARNING CENTER/OGDEN SCHOOL, INC., d/b/a The Learning Center Charter School
v.
CHEROKEE COUNTY BOARD OF EDUCATION, d/b/a Cherokee County Schools.
No. 493P11.
Supreme Court of North Carolina.
January 26, 2012.
Christopher Z. Campbell, Asheville, for Cherokee County Board of Education.
Richard A. Vinroot, Charlotte, for Learning Center/Ogden School, Inc.

ORDER
Upon consideration of the petition filed by Plaintiff on the 15th of November 2011 in this matter for discretionary review under G.S. 7A-31 prior to a determination by the North Carolina Court of Appeals, the following order was entered and is hereby certified to the North Carolina Court of Appeals:
"Denied by order of the Court in conference, this the 26th of January 2012."
